Case No. 1:20-cr-00152-PAB Document 357-5 filed 08/13/21 USDC Colorado pg 1 of 4




                    EXHIBIT C
                    Case No. 1:20-cr-00152-PAB Document 357-5 filed 08/13/21 USDC Colorado pg 2 of 4


Gavin D. Schryver




From:                                   Daniel J. Fetterman
Sent:                                   Thursday, August 5, 2021 11:19 PM
To:                                     Tubach, Michael
Cc:                                     julie@jwitherslaw.com; mfeldberg@reichmanjorgensen.com;
                                        pbrahmbhatt@reichmanjorgensen.com; dking@reichmanjorgensen.com;
                                        rick@rklawpc.com; Pletcher, Anna T.; Quinn, Brian P.; bryan.lavine@troutman.com;
                                        david@rklawpc.com; megan.rahman@troutman.com; lcarwile@reichmanjorgensen.com;
                                        elizabeth.prewitt@lw.com; caroline.rivera@lw.com; johnfagg@mvalaw.com;
                                        jabber@backstromlaw.com; cgillen@gwllawfirm.com; markbyrne@byrnenixon.com;
                                        jenniferderwin@byrnenixon.com; bpollack@robbinsrussell.com; wjohnson@rmp.law;
                                        denniscanty@byrnenixon.com; Kim Pryor; Marc E. Kasowitz; Kenneth R. David; Gavin D.
                                        Schryver
Subject:                                Re: U.S. v. Penn et al - Letter to M. Tubach re 17(c) Subpoena

Categories:                             DM, #NYC : 5784087


Michael,

We are available to meet and confer tomorrow at noon ET. We can use the following dial-in for the call: (833) 548-
0282,,3578571042#.

As an aside, had you really intended to discuss your motion with us before filing it, you would have sent us an email and
called one of the several other Kasowitz partners who you know are working on this matter rather than leaving a single,
generic voicemail requesting a callback “if [I] get a moment” that neither referenced your upcoming motion nor the
17(c) subpoena. It also doesn’t explain why you waited an entire week to serve the subpoena.

We look forward to speaking with you tomorrow.

Best.

Dan


> On Aug 5, 2021, at 7:06 PM, Tubach, Michael <mtubach@omm.com> wrote:
>
> Dan,
>
> Thank you for your email. We are, indeed, proceeding with the subpoena. Thank you for agreeing to accept service. I
called you before we filed the motion for issuance of a Rule 17(c) subpoena to Pilgrim’s to discuss it and left you a
voicemail, but did not hear back from you. I am confident you have had the Court’s order since Judge Brimmer issued it,
but I will send you a copy of the subpoena as soon as I get back to my computer later this evening.
>
> I have now had an opportunity to confer with co-counsel and am available to discuss the subpoena tomorrow. I am
available at 9 am and at noon ET. Please let me know if either of those times works for you.
>
> Best regards,
>
> Michael
>

                                                                1
     Case No. 1:20-cr-00152-PAB Document 357-5 filed 08/13/21 USDC Colorado pg 3 of 4


>> On Aug 5, 2021, at 6:54 PM, Daniel J. Fetterman <DFetterman@kasowitz.com> wrote:
>> [EXTERNAL MESSAGE]
>> Michael, Julie, and Michael,
>> The proposed subpoena is wholly improper and was authorized based on an inaccurate record before the Court. As a
result, our position is that the subpoena should not be served at all and should be withdrawn. We are prepared to detail
all of that to the Court promptly. However, if you persist in moving forward with this subpoena to Pilgrim’s, we will
accept service reserving all rights, including to oppose its issuance, breadth, and enforcement.
>> Moreover, based on the public record, we understand that the Court issued the Subpoena last Friday with a
compliance date of August 19, 2021. Given that three week deadline, we fail to understand any valid reason why only
today -- two weeks before the Court-ordered compliance deadline -- you are asking if we will accept service.
>> Please advise if you intend to proceed with the subpoena, and if so, when you are available for a meet and confer
tomorrow or Monday, and whether you will be providing the information requested in my letter of August 3rd by close
of business tomorrow.
>> Best.
>> Dan
>>>> On Aug 5, 2021, at 10:04 AM, Tubach, Michael <mtubach@omm.com> wrote:
>>> Dan,
>>> Are you willing to accept service of the subpoena on behalf of Pilgrim’s?
>>> Michael
>>>>> On Aug 5, 2021, at 10:01 AM, Daniel J. Fetterman <DFetterman@kasowitz.com> wrote:
>>>> [EXTERNAL MESSAGE]
>>>> Michael,
>>>> We appreciate that you are traveling this week and ordinarily would be happy to accommodate your travel
schedule. However, given that the Court set August 19, 2021, as the deadline for producing documents – and that
Pilgrim’s was not previously provided with an opportunity to be heard – we have no choice except to move quickly. We
are available to meet and confer with others on your side this week or with you on Monday, but we must file our motion
no later than Tuesday (unless you agree to withdraw the Subpoena or substantially narrow it to comply with Rule 17(c)
and Nixon). We also reiterate our request that you provide us with the information requested in my letter dated August
3rd before we meet and confer, and in any event by no later than the close of business this Friday. In addition, please
let us know whether you have served the Subpoena on Pilgrim’s and, if you haven’t, provide us with a courtesy copy
when you do.
>>>> Thanks,
>>>> Dan
>>>> Daniel J. Fetterman
>>>> Kasowitz Benson Torres LLP
>>>> 1633 Broadway
>>>> New York, New York 10019
>>>> Tel. (212) 506-1934
>>>> Fax. (212) 500-3434
>>>> DFetterman@kasowitz.com
>>>>> On Aug 4, 2021, at 2:30 PM, Tubach, Michael <mtubach@omm.com> wrote:
>>>>
>>>> ________________________________
>>>> ALERT: THIS IS AN EXTERNAL EMAIL. Do not click on any link, enter a password, or open an attachment unless you
know that the message came from a safe email address. Any uncertainty or suspicion should be immediately reported to
the Helpdesk.
>>>> ________________________________
>>>> ________________________________
>>>> Dan,
>>>> Thank you for your letter and the suggestion that we meet and confer about the subpoena that Judge Brimmer
authorized to be issued to Pilgrim’s. I am traveling this week and also need to confer with co-counsel, so we will not be
able to get back to you on the timetable you suggested in your letter. We will get back to you as soon as possible.

                                                            2
     Case No. 1:20-cr-00152-PAB Document 357-5 filed 08/13/21 USDC Colorado pg 4 of 4


>>>> Best regards,
>>>> Michael
>>>>> On Aug 3, 2021, at 6:38 PM, Gavin D. Schryver <GSchryver@kasowitz.com> wrote:
>>>>
>>>> [EXTERNAL MESSAGE]
>>>> Michael – Please see the attached correspondence.
>>>> Best,
>>>> Gavin
>>>> Gavin D. Schryver
>>>> Kasowitz Benson Torres LLP
>>>> 1633 Broadway
>>>> New York, New York 10019
>>>> Tel. (212) 506-1891
>>>> Fax. (212) 835-5291
>>>> GSchryver@kasowitz.com
>>>> This e-mail and any files transmitted with it are confidential and may be subject to the attorney-client privilege.
Use or disclosure of this e-mail or any such files by anyone other than a designated addressee is unauthorized. If you are
not an intended recipient, please notify the sender by e-mail and delete this e-mail without making a copy.
>>>> <2021.08.03 Letter to M. Tubach.pdf>




                                                            3
